           Case 2:20-cv-00153-RSM Document 22 Filed 10/16/20 Page 1 of 4




 1                                           HONORABLE RICARDO S. MARTINEZ

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 6                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 7                                 AT SEATTLE
 8   SUSAN HOLMES, PIERINO DE
     SIMONE, and ANTONINA DE SIMONE,        NO. 2:20-CV-00153-RSM
 9
     individuals,
10                   Plaintiffs,            STIPULATED MOTION AND ORDER
                                            OF DISMISSAL WITH PREJUDICE
11   v.                                     OF ALL CLAIMS BY PLAINTIFF
                                            HOLMES
12   U.S. BANKCORP, national banking
     association,                           NOTE ON MOTION CALENDAR:
13                                          OCTOBER 9, 2020
                        Defendant.
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     STIPULATED MOTION AND ORDER                    DORSEY & WHITNEY LLP
                                                      701 FIFTH AVENUE, SUITE 6100
     OF DISMISSAL WITH PREJUDICE                        SEATTLE, WA 98104-7043
                                                          PHONE: (206) 903-8800
                                                          FAX: (206) 903-8820
             Case 2:20-cv-00153-RSM Document 22 Filed 10/16/20 Page 2 of 4




 1                                          STIPULATION

 2         Pursuant to FRCP 41, Plaintiff Irene Sue Holmes (misidentified in the caption as “Susan

 3 Holmes”) (“Holmes”) and Defendant U.S. Bank National Association (misidentified in the caption

 4 as “U.S. Bankcorp”) (“U.S. Bank”), by and through their undersigned counsel of record, hereby

 5 stipulate and agree that all claims and causes of action by Plaintiff Holmes in this action shall be

 6 dismissed with prejudice, and without fees or costs to any party. Plaintiff Holmes and Defendant

 7 U.S. Bank jointly request entry of the Order below.

 8         SO STIPULATED this 9th day of October 2020.

 9
      /s/ Shawn Larsen-Bright                         /s/ Eric J. Harrison (by email authorization)
10
      Shawn Larsen-Bright, WSBA #37066                Eric J. Harrison, WSBA #46129
11    Dorsey & Whitney LLP                            Attorney West Seattle, P.S.
      701 Fifth Avenue, Suite 6100                    5400 California Ave. SW Ste. E
12    Seattle, WA 98104                               Seattle, WA 98136
      (206) 903-8800                                  (206) 388-8092
13    larsen.bright.shawn@dorsey.com                  eric@attorneywestseattle.com
14    Attorneys for Defendant U.S. Bank National      Attorney for Plaintiffs
      Association
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     STIPULATED MOTION AND ORDER                                    DORSEY & WHITNEY LLP
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     1-                                                                   PHONE: (206) 903-8800
                                                                          FAX: (206) 903-8820
             Case 2:20-cv-00153-RSM Document 22 Filed 10/16/20 Page 3 of 4




 1                                              ORDER

 2         Based upon FRCP 41 and the foregoing Stipulation, all claims and causes of action by

 3 Plaintiff Irene Sue Holmes (misidentified in the caption as “Susan Holmes”) in this action shall be

 4 and are hereby dismissed with prejudice, and without fees or costs to any party.

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 6         IT IS SO ORDERED this 16th day of October, 2020.

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10                                               A
                                                 RICARDO S. MARTINEZ
11                                               CHIEF UNITED STATES DISTRICT JUDGE

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     STIPULATED MOTION AND ORDER                                   DORSEY & WHITNEY LLP
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     2-                                                                  PHONE: (206) 903-8800
                                                                         FAX: (206) 903-8820
             Case 2:20-cv-00153-RSM Document 22 Filed 10/16/20 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on this date I caused the foregoing document to be electronically filed

 3 with the Clerk of Court using the CM/ECF system which will send notification of the filing to all

 4 counsel of record.

 5
     DATED this October 9, 2020.
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 7                                               s/ Molly Price
                                                 Molly Price, Legal Assistant
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      STIPULATED MOTION AND ORDER                                   DORSEY & WHITNEY LLP
                                                                      701 FIFTH AVENUE, SUITE 6100
      OF DISMISSAL WITH PREJUDICE                 -                     SEATTLE, WA 98104-7043
      3-                                                                  PHONE: (206) 903-8800
                                                                          FAX: (206) 903-8820
